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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUSANNE COHEN                                            :      CIVIL ACTION
                                                         :
       v.                                                :      NO. 15-479
                                                         :
GOVERNMENT EMPLOYEES INSURANCE                           :
COMPANY                                                  :

                 AMENDED SETTLEMENT CONFERENCE ORDER

              Pursuant to the direction of the Honorable Anita B. Brody, a settlement
conference will be held in Chambers before the Honorable David R. Strawbridge in Room
3030, 3rd Floor, United States Courthouse, 601 Market Street, Philadelphia, Pennsylvania
19106 on Tuesday, August 4, 2015 commencing at 9:30 a.m.*

                Any individual plaintiff or other person bringing a claim (counterclaim or
third-party claim) is required to appear in person. All other entities must appear
through a duly-authorized representative knowledgeable about the facts of the case and
with full settlement authority. The Court will grant an exception to this requirement only
upon a written showing of good cause and exceptional circumstances.

                The Court fully expects that the parties have a serious interest in pursuing
settlement. Prior to the conference, but not later than July 23, 2015, counsel for plaintiffs
is to set out to defendants a written good faith demand. The defendant is to respond to the
demand in good faith on or before July 27, 2015 and is then to initiate a discussion with
opposing counsel regarding the parties= settlement positions. To the extent that any
demands and/or offers have already been made, they are to be updated (even if the update is
merely a confirmation of previous demands/offers) based upon the current status of the
case and a serious re-evaluation of all issues potentially affecting settlement. The Court
expects the parties to be fully prepared to discuss all issues relevant to the settlement
process.

             The parties are directed to submit to the Court on or before July 30, 2015, a
settlement memorandum of no more than six (6) typed double-spaced pages. Settlement
conference memoranda are to be exchanged and submitted to chambers, but are not
to be filed with the Clerk of Court. If counsel feel further communication with the
Court is necessary on an ex parte basis, they may provide the Court with a brief
submission. If they do so, they are to advise all other counsel of the fact that they have
done so. Defense counsel may, if appropriate, submit an agreed upon single
memorandum. The memorandum shall set out in the following in order:
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              1.     The names, telephone numbers, facsimile numbers and e-mail
                     addresses of counsel to appear at the conference on behalf of the
                     party;

              2.     The name of the party or the party=s representative, including insurer
                     if applicable (with title or position) to appear at the conference;

              3.     The status of any pending motions;

              4.     The status of discovery;

              5.     A brief statement of the factual and legal basis of the party=s claims
                     and/or defenses, including the elements and manner of proof;

              6.     A brief statement of the factual and legal basis of the party=s damages,
                     including the elements and manner of proof of their damages or, as
                     appropriate, its position on damages claimed by any opposing party;

              7.     The last demand and/or offer; and

              8.     Any other matters that counsel believe may be relevant to settlement
                     discussions.

               The Court finds that diagrams, photos, schematics and particularly relevant
documents are often helpful and their submission is encouraged. If any such items are in
color, the color copies are to be brought to the conference. If any documents are over five
(5) pages in length, counsel shall highlight or otherwise draw particular attention to the
critically relevant portion of the document. Any submission which, including exhibits is
over 20 pages, shall not to be submitted via facsimile or e-mail and should be sent via
overnight mail or hand-delivery. Exhibits to any memorandum must be indexed and
tabbed for ease of review. Counsel are required to review Judge Strawbridge=s Standard
Policy and Procedures pertaining to settlement on the U.S. District Court for the Eastern
District of Pennsylvania=s website (http://www.paed.uscourts.gov).

                                                 BY THE COURT:

Date: May 13, 2015                               /s/ David R. Strawbridge
                                                 David R. Strawbridge
                                                 United States Magistrate Judge
                                                 267-299-7790(ph)/267-299-5065(fax)

*Originally scheduled date of 6/1/15 by joint request of counsel due to scheduling deadline
changes.
